                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION


 ANDREA MARTINEZ,

                  Plaintiff,

 v.
                                                            Civil Action No. 5:19-CV-6135-FJG
 UNITED STATES OF AMERICA,

                  Defendant.


                          Consent Motion for Extension of Time to
           Respond to Defendant United States’ Motions to Exclude Expert Witnesses

         Comes now Plaintiff, by and through counsel, and respectfully requests an extension of

time of ten (10) days, up to and including March 27, 2023, to respond to Defendant United

States’ Motion to Exclude Victoria Ford as an Expert Witness, Motion to Exclude Archie

Heddings, MD as an Expert Witness, and Motion to Exclude Stephanie Haupt, MD as an Expert

Witness. In support, Plaintiff states:

      1. On March 3, 2023, Defendant United States filed three Motions to Exclude an Expert

         Witness (ECF Nos. 139, 140, 141).

      2. Plaintiff’s Suggestions in Opposition to the three motions are due on March 17, 2023.

      3. Plaintiff makes this request because of the press of other obligations, including discovery

         response deadlines in other cases, a deposition for which counsel has to travel to a prison

         in mid-Missouri, as well as prearranged personal travel plans.

      4. Counsel for the United States has been contacted and consents to this request.




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       Plaintiff hereby requests an extension of time of ten (10) days, up to and including March

27, 2023, to respond to Defendant United States’ Motion to Exclude Victoria Ford as an Expert

Witness, Motion to Exclude Archie Heddings, MD as an Expert Witness, and Motion to Exclude

Stephanie Haupt, MD as an Expert Witness.

                                            Respectfully submitted,

                                            /s/ Gillian R. Wilcox
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2023, a copy of the foregoing was filed electronically

and served on all counsel of record by operation of the CM/ECF system.


                                                            /s/ Gillian R. Wilcox




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